Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 1 of 7 PageID 379



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                             8:08-cr-450-T-33EAJ

GEORGE AUGUSTUS
_____________________________/

                                         ORDER

       This matter comes before the Court for consideration of United

States    Magistrate      Judge     Elizabeth        A.    Jenkins’      Report     and

Recommendation     (Doc.    #     79),    issued     on    May    14,   2009,     which

recommends that Defendant Augustus’ Motion to Suppress Statements

(Doc. No. 58) be granted.         The Government filed a timely objection

to the Report and Recommendation (Doc. # 84).

I.     Legal Standard

       After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.                       28 U.S.C. §

636(b)(1);    Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982), cert. denied, 459 U.S. 1112 (1983).                       In the absence of

specific objections, there is no requirement that a district judge

review factual findings de novo.             Garvey v. Vaughn, 993 F.2d 776,

779 n.9 (11th Cir. 1993).         However, a district judge must make a de

novo     determination     of     those     portions       of     the    report     and

recommendation    to     which    an     objection    is   made.        28   U.S.C.   §

636(b)(1)(C).     District judges must “give fresh consideration to

those issues to which specific objections have been made by a
Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 2 of 7 PageID 380



party.” Jeffrey S. by Ernest S. v. State Bd. of Educ. of Ga., 896

F.2d 507, 512 (11th Cir. 1990)(internal citations omitted).             The

district judge reviews legal conclusions de novo, even in the

absence of an objection. See Cooper-Houston v. S. Ry. Co., 37 F.3d

603, 604 (11th Cir. 1994); Castro Bobadilla v. Reno, 826 F. Supp.

1428, 1431-32 (S.D. Fla. 1993), aff’d, 28 F.3d 116 (11th Cir.

1994).

II.   Analysis

      The Government’s objection to the Report and Recommendation

does not involve the findings of fact, but instead asserts that the

conclusions of law regarding “knowing and intelligent waiver” are

erroneous and should be rejected by this Court.

      A defendant may waive his Miranda rights, provided the waiver

is made voluntarily, knowingly and intelligently.               Miranda v.

Arizona, 384 U.S. 436, 444 (1966).         An express written waiver of

Miranda rights “is usually strong proof of the validity of that

waiver, but is not inevitably either necessary or sufficient to

establish waiver.”      North Carolina v. Butler,       441 U.S. 369, 373

(1979).

      In assessing the validity of such a waiver, a court must

undertake the following two-part inquiry:

      First, the relinquishment of the right must have been
      voluntary in the sense that it was the product of a free
      and deliberate choice rather than intimidation, coercion,
      or deception. Second, the waiver must have been made
      with a full awareness of both the nature of the right
      being abandoned and the consequences of the decision to

                                     -2-
Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 3 of 7 PageID 381



       abandon it. Only if the “totality of the circumstances
       surrounding the interrogation” reveal both an uncoerced
       choice and the requisite level of comprehension may a
       court properly conclude that the Miranda rights have been
       waived.

Moran v. Burbine, 475 U.S. 412, 421 (1986)(citations omitted). The

prosecution must establish the defendant’s waiver of Miranda rights

by a preponderance of the evidence. Colorado v. Connelly, 479 U.S.

157, 168 (1986).

       The main cases discussed in the Report and Recommendation and

the Government’s objection are Hart v. Attorney General of Fla.,

323 F.3d 884 (11th Cir. 2003) and United States v. Quinn, 123 F.3d

1415 (11th Cir. 1997).       In Hart, the Eleventh Circuit held that

misleading statements as to the nature of Miranda rights can in

some   cases   void   a   waiver   of    those   rights.   Ultimately,   the

detective in Hart informed the defendant that “honesty wouldn’t

hurt him,” which the court found “simply not compatible with the

phrase ‘anything you say can be used against you in court.’” Hart,

323 F.3d at 894.      Although the defendant was properly advised of

his Miranda rights, the court found that the detective’s subsequent

statements confused the nature of those rights and undermined the

validity of the waiver.        Id. at 895; see also United States v.

Beale, 921 F.2d 1412, 1435 (11th Cir. 1991)(finding district court

erred in admitting statement where law enforcement told defendant

that signing Miranda waiver “would not hurt him” because this




                                        -3-
Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 4 of 7 PageID 382



contradicted warning that defendant’s statements could be used

against him).

      In   Quinn,    the     defendant         testified    that   he   was   told

“cooperation” could lead to a lesser sentence and that “it would be

difficult to cooperate once an attorney had been appointed.”

Quinn, 123 F.3d at 1423-24.              The Eleventh Circuit affirmed the

district court’s conclusion that the Miranda waiver was valid,

reasoning that the defendant was adequately advised of his rights

when law enforcement read them to him.                Id. at 1424.      The court

emphasized, however, that any inculpatory statements were made by

defendant before law enforcement discouraged the defendant from

requesting counsel.        Id.

      Judge Jenkins analyzed these cases in her R&R and found that

the facts of this case are closer to Hart than to Quinn.                      Judge

Jenkins    concluded       that    the    totality     of    the   circumstances

surrounding the interview undermined the validity of Defendant’s

waiver.     Specifically, Judge Jenkins found that Agent Coad’s

statements prior to Defendant’s waiving his rights about the

benefits of talking with the agent were misleading and contradicted

the Miranda warnings.             Accordingly, Defendant’s waiver of his

Miranda rights, while voluntary, was not knowing and intelligent.

      The Report and Recommendation states, in pertinent part, that:

      Although Defendant was informed that any statements he
      made could be used against him as evidence in the future,
      less than two minutes later during the interview Agent
      Coad suggested that Defendant should talk if he hoped to

                                         -4-
Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 5 of 7 PageID 383



      “do less time.” Moreover, although Agent Coad informed
      Defendant of his right to the presence of counsel, Agent
      Coad also indicated that requesting a lawyer would be
      equivalent to expressing a desire to “do the time.”

Report & Recommendation (Doc. No. 79) at 7.

      The Government raises only one objection to the Report and

Recommendation.       The Government argues that Agent Coad telling the

Defendant that cooperation could lead to a lesser sentence should

lead to a Quinn “cooperation could lead to a lesser sentence”

analysis.         The Government argues that the agent telling the

Defendant that “if you want to do less time, talk to me...” is

distinguishable from Hart where the agent stated “honesty wouldn’t

hurt [the defendant]” because Agent Coad never stated that the

Defendant would be able to avoid jail, just that he could receive

a lesser sentence.

      While initially the Government’s argument is appealing, it is,

upon closer inspection, without merit.          While it is true that the

actual language used by Agent Coad is closer to that used by law

enforcement in Quinn, the facts in Quinn are distinguishable

because     the    Quinn   court   emphasized   that   the   incriminating

statements made by the defendant in Quinn were made before law

enforcement discouraged the defendant from requesting counsel.           In

the case at bar, the incriminating statements made by the Defendant

were made after the agent discouraged the Defendant from requesting

counsel.     While Hart is not exactly on-point as to the language

used by the agent, this Court agrees with the Magistrate Judge that

                                     -5-
Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 6 of 7 PageID 384



this case is closer to Hart than to Quinn and agrees with her

analysis as to the applicability of these cases to the case at bar.

III. Conclusion

      After   conducting    a   careful    and   complete   review   of   the

findings, conclusions and recommendations, and giving de novo

review to matters of law and those portions of the Report and

Recommendation to which objection was made, the Court accepts the

factual findings and legal conclusions of the Magistrate Judge and

the recommendation of the Magistrate Judge regarding the motion.

      Accordingly, it is hereby

      ORDERED, ADJUDGED, and DECREED:

1.    United States Magistrate Judge Elizabeth A. Jenkins’ Report

      and Recommendation (Doc. # 79) is ACCEPTED and ADOPTED.

2.    Defendant Augustus’ Motion to Suppress Statements (Doc. No.

      58) is GRANTED.      Defendant Augustus’ statements during his

      interviews with Agent Coad, Agent Hanes, and Detective Lazzara

      on September 17, 2008 are not admissible at trial to establish

      Defendant’s guilt.

      DONE and ORDERED in Chambers in Tampa, Florida, this 7th day

of October, 2009.




                                     -6-
Case 8:08-cr-00450-VMC-CPT Document 140 Filed 10/07/09 Page 7 of 7 PageID 385



Copies: All Counsel of Record




                                     -7-
